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16                                UNITED STATES DISTRICT COURT

17                               NORTHERN DISTRICT OF CALIFORNIA

18                                       SAN JOSE DIVISION

19

20   CHRISTINA GRACE and KEN POTTER,                  CASE NO. 5:17-cv-00551-LHK
     Individually and on Behalf of All Others
21   Similarly Situated,                              STIPULATED PROTECTIVE ORDER

22                 Plaintiffs,

23          vs.

24   APPLE INC.,

25                 Defendant.

26

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1            1.     PURPOSES AND LIMITATIONS

2            Disclosure and discovery activity in this action are likely to involve production of

3    confidential, proprietary, or private information for which special protection from public

4    disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

5    Accordingly, Plaintiffs Christina Grace and Ken Potter (“Plaintiffs”), and Defendant Apple

6    Inc. (“Defendant,” and, together with Plaintiffs, defined below as the “Parties”) hereby stipulate

7    to and petition the Court to enter the following Stipulated Protective Order. The Parties

8    acknowledge that this Order does not confer blanket protections on all disclosures or responses

9    to discovery and that the protection it affords from public disclosure and use extends only to

10   the limited information or items that are entitled to confidential treatment under the applicable

11   legal principles. The Parties further acknowledge, as set forth in Section 12.3, below, that this

12   Stipulated Protective Order does not entitle them to file confidential information under seal;

13   Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards that

14   will be applied when a party seeks permission from the Court to file material under seal.

15           2.     DEFINITIONS

16           2.1    Challenging Party: a Party or Non-Party that challenges the designation of

17   information or items under this Order.

18           2.2    “CONFIDENTIAL” Information or Items: information (regardless of how it is

19   generated, stored or maintained) or tangible things that qualify for protection under Federal

20   Rule of Civil Procedure 26(c).

21           2.3    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

22   Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another

23   Party or Non-Party would create a substantial risk of serious harm that could not be avoided by

24   less restrictive means.

25           2.4    Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

26   well as their support staff).

27           2.5    Designating Party: a Party or Non-Party that designates information or items

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1    that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

2            2.6   Disclosure or Discovery Material: all items or information, regardless of the

3    medium or manner in which it is generated, stored, or maintained (including, among other

4    things, testimony, transcripts, and tangible things), that are produced or generated in

5    disclosures or responses to discovery in this matter.

6            2.7   Expert: a person with specialized knowledge or experience in a matter pertinent

7    to the litigation who has been retained by a Party or its Counsel to serve as an expert witness or

8    as a consultant in this Action and who is not a past or a current employee of a Party or of any

9    entity on the Restricted Competitors List and who, at the time of retention, is not anticipated to

10   become an employee of a Party or any entity on the Restricted Competitors List. This

11   definition includes any professional jury or trial consultant retained in connection with this

12   litigation but does not include mock jurors. A list of Apple Inc.’s (“Apple”) restricted

13   competitors will be separately produced to Outside Counsel (“Restricted Competitors List”).

14           2.8   House Counsel: attorneys who are employees of a party to this action. House

15   Counsel does not include Outside Counsel of Record or any other outside counsel.

16           2.9   Non-Parties: each and every Non-Party, collectively.

17           2.10 Non-Party: any natural person, partnership, corporation, association, or other

18   legal entity not named as a Party to this action.

19           2.11 Outside Counsel of Record: attorneys who are not employees of a party to this

20   action but are retained to represent or advise a party to this action and have appeared in this

21   action on behalf of that party or are affiliated with a law firm which has appeared on behalf of

22   that party.

23           2.12 Parties: each and every Party, collectively.

24           2.13 Party: any party to this action, including all of its officers, directors, employees,

25   consultants, retained experts, and Outside Counsel of Record (and their support staffs).

26           2.14 Producing Party: a Party or Non-Party that produces Disclosure or Discovery

27   Material in this action.

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1            2.15 Professional Vendors: persons or entities that provide litigation support services

2    (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

3    organizing, storing, or retrieving data in any form or medium) and their employees and

4    subcontractors.

5            2.16 Protected Material: any Disclosure or Discovery Material that is designated as

6    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

7            2.17 Receiving Party: a Party that receives Disclosure or Discovery Material from a

8    Producing Party.

9            2.18      Source Code: computer code, scripts, assembly, object code, source code

10   listings, comments for source code, source code revision histories, and descriptions of source

11   code, object code listings, comments for object code, object code revision histories, and

12   descriptions of object code, Hardware Description Language (HDL) or Register Transfer Level

13   (RTL) files that describe the hardware design of any ASIC or other chip, and other electronic

14   files used in network operations, comments for network operation files, and network operation

15   revision histories.

16           3.     SCOPE

17           The protections conferred by this Stipulation and Order cover not only Protected

18   Material (as defined above), but also (1) any information copied or extracted from Protected

19   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3)

20   any testimony, conversations, or presentations by Parties or their Counsel that might reveal

21   Protected Material. However, the protections conferred by this Stipulation and Order do not

22   cover the following information: (a) any information that is in the public domain at the time of

23   disclosure to a Receiving Party or becomes part of the public domain after its disclosure to a

24   Receiving Party as a result of publication not involving a violation of this Order, including

25   becoming part of the public record through trial or otherwise; and (b) any information known

26   to the Receiving Party prior to the disclosure or obtained by the Receiving Party after the

27   disclosure from a source who obtained the information lawfully and under no obligation of

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1    confidentiality to the Designating Party. Nothing in this Protective Order shall prevent or

2    restrict a Producing Party’s own disclosure or use of its own Protected Material for any

3    purpose.

4             This Protective Order does not govern the production of Source Code. If pursuant to a

5    Court order or to agreement between the Parties Source Code is to be produced, the Parties will

6    file an amendment to this Protective Order providing for appropriate procedures for producing

7    and reviewing Source Code, which shall be filed prior to production of any Source Code.

8             Any use of Protected Material at trial shall be governed by a separate agreement or

9    order.

10            4.    DURATION

11            Even after final disposition of this litigation, the confidentiality obligations imposed by

12   this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

13   order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

14   claims and defenses in this action, with or without prejudice; and (2) final judgment herein

15   after the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of

16   this action, including the time limits for filing any motions or applications for extension of time

17   pursuant to applicable law.

18            5.    DESIGNATING PROTECTED MATERIAL

19            5.1   Exercise of Restraint and Care in Designating Material for Protection. Each Party

20   or Non-Party that designates information or items for protection under this Order must take

21   care to limit any such designation to specific material that qualifies under the appropriate

22   standards. The Designating Party must designate for protection only those parts of material,

23   documents, items, or oral or written communications that qualify – so that other portions of the

24   material, documents, items, or communications for which protection is not warranted are not

25   swept unjustifiably within the ambit of this Order.

26            Mass, indiscriminate, or routinized designations are prohibited. Designations that are

27   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

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1    unnecessarily encumber or delay the case development process or to impose unnecessary

2    expenses and burdens on other parties) expose the Designating Party to sanctions.

3           If it comes to a Designating Party’s attention that information or items that it designated

4    for protection do not qualify for protection, that Designating Party must promptly notify all

5    other Parties that it is withdrawing the mistaken designation.

6           5.2    Manner and Timing of Designations. Except as otherwise provided in this Order

7    (see, e.g., the second paragraph of Section 5.2(a) below), or as otherwise stipulated or ordered,

8    Disclosure or Discovery Material that qualifies for protection under this Order must be clearly

9    so designated before the material is disclosed or produced.

10          Designation in conformity with this Order requires:

11          (a) for information in documentary form (e.g., paper or electronic documents, but

12   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

13   Party affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’

14   EYES ONLY” to each page that contains protected material. If only a portion or portions of the

15   material on a page qualifies for protection, the Producing Party also must clearly identify the

16   protected portion(s) (e.g., by making appropriate markings in the margins).

17          A Party or Non-Party that makes original documents or materials available for

18   inspection need not designate them for protection until after the inspecting Party has indicated

19   which material it would like copied and produced. During the inspection and before the

20   designation, all of the material made available for inspection shall be deemed

21   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After

22   the inspecting Party has identified the documents it wants copied and produced, the Producing

23   Party must determine which documents, or portions thereof, qualify for protection under this

24   Order. Then, before producing the specified documents, the Producing Party must affix the

25   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” legend

26   to each page that contains Protected Material. If only a portion or portions of the material on a

27   page qualifies for protection, the Producing Party also must clearly identify the protected

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1    portion(s) (e.g., by making appropriate markings in the margins).

2           (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

3    Producing Party identify all protected testimony with the appropriate designation by indicating

4    on the record at the time the testimony is given. Alternatively, the Producing Party may

5    designate testimony or information disclosed at the deposition by notifying all parties in

6    writing within fourteen (14) days after the conclusion of the deposition. If no indication on the

7    record is made, all information disclosed during a deposition shall be deemed

8    “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until the time within which it may be

9    appropriately designated as provided for herein has passed. Any Protected Material that is used

10   in the taking of a deposition shall remain subject to the provisions of this Protective Order,

11   along with the transcript pages of the deposition testimony dealing with such Protected

12   Material. In such cases the court reporter shall be informed of this Protective Order and shall

13   be required to operate in a manner consistent with this Protective Order. In the event the

14   deposition is videotaped, the original and all copies of the videotape shall be marked by the

15   video technician to indicate that the contents of the videotape are subject to this Protective

16   Order. Counsel for any Producing Party shall have the right to exclude from oral depositions,

17   other than the deponent, deponent’s counsel, the reporter and videographer (if any), any person

18   who is not authorized by this Stipulation and Protective Order to receive or access Protected

19   Material based on the designation of such Protected Material. Such right of exclusion shall be

20   applicable only during periods of examination or testimony regarding such Protected Material.

21          (c) for information produced in some form other than documentary and for any other

22   tangible items, that the Producing Party affix in a prominent place on the exterior of the

23   container or containers in which the information or item is stored the legend

24   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” If only

25   a portion or portions of the information or item warrant protection, the Producing Party, to the

26   extent practicable, shall identify the protected portion(s).

27          5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

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1    designate or an incorrect designation of qualified information or items does not, standing alone,

2    waive the Designating Party’s right to secure protection under this Order for such material.

3    Upon receiving Protected Material with a timely corrected confidentiality designation, the

4    Receiving Party must make reasonable efforts to assure that the material is treated in

5    accordance with the provisions of this Order and shall destroy the Protected Material that was

6    not designated properly.

7           6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

8           6.1    Timing of Challenges. Any Party or Non-Party may challenge a designation of

9    confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

10   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

11   burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

12   challenge a confidentiality designation by electing not to mount a challenge promptly after the

13   original designation is disclosed.

14          6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution

15   process by providing written notice of each designation it is challenging and describing the

16   basis for each challenge. To avoid ambiguity as to whether a challenge has been made, the

17   written notice must recite that the challenge to confidentiality is being made in accordance with

18   this specific paragraph of the Protective Order. The Parties shall attempt to resolve each

19   challenge in good faith and must begin the process by conferring directly (in voice to voice

20   dialogue; other forms of communication are not sufficient) within 14 days of the date of

21   service of notice. In conferring, the Challenging Party must explain the basis for its belief that

22   the confidentiality designation was not proper and must give the Designating Party an

23   opportunity to review the designated material, to reconsider the circumstances, and, if no

24   change in designation is offered, to explain the basis for the chosen designation. A Challenging

25   Party may proceed to the next stage of the challenge process only if it has engaged in this meet

26   and confer process first or establishes that the Designating Party is unwilling to participate in

27   the meet and confer process in a timely manner.

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1           6.3    Judicial Intervention. If the Parties cannot resolve a challenge without Court

2    intervention, the Designating Party may file and serve a motion to retain confidentiality under

3    Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within 21

4    days of the initial notice of challenge or within 14 days of the Parties agreeing that the meet

5    and confer process will not resolve their dispute, whichever is earlier. Each such motion must

6    be accompanied by a competent declaration affirming that the movant has complied with the

7    meet and confer requirements imposed in the preceding paragraph. Failure by the Designating

8    Party to make such a motion including the required declaration within 21 days (or 14 days, if

9    applicable) shall automatically waive the confidentiality designation for each challenged

10   designation. In addition, the Challenging Party may file a motion challenging a confidentiality

11   designation at any time if there is good cause for doing so, including a challenge to the

12   designation of a deposition transcript or any portions thereof. Any motion brought pursuant to

13   this provision must be accompanied by a competent declaration affirming that the movant has

14   complied with the meet and confer requirements imposed by the preceding paragraph.

15          The burden of persuasion in any such challenge proceeding shall be on the Designating

16   Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

17   unnecessary expenses and burdens on other parties and/or Counsel) may expose the

18   Challenging Party to sanctions. Unless the Designating Party has waived the confidentiality

19   designation by failing to file a motion to retain confidentiality as described above, all Parties

20   shall continue to afford the material in question the level of protection to which it is entitled

21   under the Producing Party’s designation until the Court rules on the challenge.

22          7.     ACCESS TO AND USE OF PROTECTED MATERIAL

23          7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed

24   or produced by another Party or by a Non-Party in connection with this case only for

25   prosecuting, defending, or attempting to settle this litigation. Such Protected Material may be

26   disclosed only to the categories of persons and under the conditions described in this Order.

27   When the litigation has been terminated, a Receiving Party must comply with the provisions of

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1    Section 13 below (FINAL DISPOSITION). For the avoidance of doubt, no Protected Material

2    produced by a Party or by a Non-Party in connection with this case may be used in any other

3    litigation or proceeding of any kind, including but not limited to any patent prosecution or

4    acquisition, patent reexamination, patent litigation, or reissue proceedings.

5             Protected Material must be stored and maintained by a Receiving Party at a location

6    and in a secure manner that ensures that access is limited to the persons authorized under this

7    Order.

8             7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

9    ordered by the Court or permitted in writing by the Designating Party, a Receiving Party may

10   disclose any information or item designated “CONFIDENTIAL” only to:

11            (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

12   employees or subcontractors of said Outside Counsel of Record to whom it is reasonably

13   necessary to disclose the information for this litigation and who have signed the “General

14   Acknowledgment of Confidentiality and Agreement to Be Bound by Protective Order” that is

15   attached hereto as Exhibit A-1;

16            (b) the officers, directors, and employees (including House Counsel) of the Receiving

17   Party to whom disclosure is reasonably necessary for this litigation and who have signed the

18   “General Acknowledgment of Confidentiality and Agreement to Be Bound by Protective

19   Order” (Exhibit A-1);

20            (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

21   reasonably necessary for this litigation and who have signed the “Expert/Consultant

22   Acknowledgment of Confidentiality and Agreement to Be Bound by Protective Order”

23   (Exhibit A-2);

24            (d) the Court and its personnel;

25            (e) court reporters and their staff, professional jury or trial consultants, mock jurors,

26   and Professional Vendors to whom disclosure is reasonably necessary for this litigation and

27   who have signed the appropriate acknowledgment and agreement to be bound (Exhibit A-1 or

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1    A-2, as appropriate);

2           (f) during their depositions, witnesses in the action to whom disclosure is reasonably

3    necessary and who have signed the appropriate acknowledgment and agreement to be bound

4    (Exhibit A-1 or A-2), unless otherwise agreed by the Designating Party or ordered by the

5    Court. Pages of transcribed deposition testimony or exhibits to depositions that reveal

6    Protected Material must be separately bound by the court reporter and may not be disclosed to

7    anyone except as permitted under this Stipulated Protective Order.

8           (g) the author or recipient of a document containing the information or a custodian or

9    other person who otherwise possessed or knew the information.

10          7.3    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

11   Information or Items. Unless otherwise ordered by the Court or permitted in writing by the

12   Designating Party, a Receiving Party may disclose any information or item designated

13   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to those individuals

14   identified in paragraphs 7.2(a), (c), and (d).

15          8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED

16   IN OTHER LITIGATION

17          If a Party is served with a subpoena or a court order issued in other litigation that

18   compels disclosure of any information or items designated in this action as

19   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” that

20   Party must:

21          (a) promptly notify in writing the Designating Party. Such notification shall include a

22   copy of the subpoena or court order;

23          (b) promptly notify in writing the party who caused the subpoena or order to issue in

24   the other litigation that some or all of the material covered by the subpoena or order is subject

25   to this Protective Order. Such notification shall include a copy of this Stipulated Protective

26   Order; and

27          (c) cooperate with respect to all reasonable procedures sought to be pursued by the

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1    Designating Party whose Protected Material may be affected.

2           If the Designating Party timely seeks a protective order, the Party served with the

3    subpoena or court order shall not produce any information designated in this action as

4    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before

5    a determination by the court from which the subpoena or order issued, unless the Party has

6    obtained the Designating Party’s permission. The Designating Party shall bear the burden and

7    expense of seeking protection in that court of its confidential material – and nothing in these

8    provisions should be construed as authorizing or encouraging a Receiving Party in this action

9    to disobey a lawful directive from another court.

10          9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE

11   PRODUCED IN THIS LITIGATION

12          (a) The terms of this Order are applicable to information produced by a Non-Party in

13   this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

14   ATTORNEYS’ EYES ONLY.” Such information produced by Non-Parties in connection with

15   this litigation is protected by the remedies and relief provided by this Order. Nothing in these

16   provisions should be construed as prohibiting a Non-Party from seeking additional protections.

17          (b) In the event that a Party is required, by a valid discovery request, to produce a Non-

18   Party’s confidential information in its possession, and the Party is subject to an agreement with

19   the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

20          (1) promptly notify in writing the Requesting Party and the Non-Party that some or all

21   of the information requested is subject to a confidentiality agreement with a Non-Party;

22          (2) promptly provide the Non-Party with a copy of the Stipulated Protective Order in

23   this litigation, the relevant discovery request(s), and a reasonably specific description of the

24   information requested; and

25          (3) make the information requested available for inspection by the Non-Party.

26          (c) If the Non-Party fails to object or seek a protective order from this Court within 14

27   days of receiving the notice and accompanying information, the Receiving Party may produce

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1    the Non-Party’s confidential information responsive to the discovery request. If the Non-Party

2    timely seeks a protective order, the Receiving Party shall not produce any information in its

3    possession or control that is subject to the confidentiality agreement with the Non-Party before

4    a determination by the Court. Absent a court order to the contrary, the Non-Party shall bear the

5    burden and expense of seeking protection in this Court of its Protected Material.

6           10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

7           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

8    Material to any person or in any circumstance not authorized under this Stipulated Protective

9    Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

10   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

11   Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

12   made of all the terms of this Order, and (d) request such person or persons to execute the

13   appropriate acknowledgment and agreement to be bound (Exhibit A-1 or A-2).

14          11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE

15   PROTECTED MATERIAL

16          When a Producing Party gives notice to Receiving Parties that certain inadvertently

17   produced material is subject to a claim of privilege or other protection, the obligations of the

18   Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).

19          12.    MISCELLANEOUS

20          12.1 Right to Further Relief. Nothing in this Order abridges the right of any person to

21   seek its modification by the Court in the future.

22          12.2 Right to Assert Other Objections. By stipulating to the entry of this Protective

23   Order, no Party waives any right it otherwise would have to object to disclosing or producing

24   any information or item on any ground not addressed in this Stipulated Protective Order.

25   Similarly, no Party waives any right to object on any ground to use in evidence of any of the

26   material covered by this Protective Order.

27          12.3 Filing Protected Material. Without written permission from the Designating

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1    Party or a court order secured after appropriate notice to all interested persons, a Party may not

2    file in the public record in this action any Protected Material. A Party that seeks to file under

3    seal any Protected Material must comply with Civil Local Rule 79-5. Protected Material may

4    only be filed under seal pursuant to a court order authorizing the sealing of the specific

5    Protected Material at issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only

6    upon a request establishing that the Protected Material at issue is privileged, protectable as a

7    trade secret, or otherwise entitled to protection under the law. If a Receiving Party's request to

8    file Protected Material under seal pursuant to Civil Local Rule 79-5(d) is denied by the Court,

9    then the Receiving Party may file the information in the public record pursuant to Civil Local

10   Rule 79-5(e) unless otherwise instructed by the Court.

11          13.    FINAL DISPOSITION

12          Within 60 days after the final disposition of this action, as defined in paragraph 4, each

13   Receiving Party must return all Protected Material to the Producing Party or destroy such

14   material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,

15   compilations, summaries, and any other format reproducing or capturing any of the Protected

16   Material. Whether the Protected Material is returned or destroyed, the Receiving Party must

17   submit a written certification to the Producing Party (and, if not the same person or entity, to

18   the Designating Party) by the 60 day deadline that (1) confirms that all the Protected Material

19   was returned or destroyed and (2) affirms that the Receiving Party has not retained any copies,

20   abstracts, compilations, summaries or any other format reproducing or capturing any of the

21   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an archival

22   copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

23   correspondence, deposition and trial exhibits, expert reports, attorney work product, and

24   consultant and expert work product, even if such materials contain Protected Material. Any

25   such archival copies that contain or constitute Protected Material remain subject to this

26   Protective Order as set forth in Section 4 (DURATION).

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1    Dated: June 14, 2017              By: /s/ Jill M. Manning
                                            Jill M. Manning
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22
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                                       Counsel for Plaintiffs
23                                     and Proposed Lead Counsel for the Class
24

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                                         14                              5:17-cv-00551-LHK
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1    Dated: June 14, 2017                 By: /s/ Kristin Sheffield-Whitehead
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9
                                          joseph.loy@kirkland.com
10                                        Attorneys for Defendant
                                          Apple Inc.
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13          IT IS SO ORDERED.
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                                                   TES D      TC
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     DATED: June 14, 2017
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                                          NATHANAEL COUSINS
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1                                               EXHIBIT A-1

2    GENERAL ACKNOWLEDGMENT OF CONFIDENTIALITY AND AGREEMENT TO
                    BE BOUND BY PROTECTIVE ORDER
3

4             I, ______________________________, declare under penalty of perjury that I have

5    read in its entirety and understand the Stipulation and Protective Order that was issued by the

6    United States District Court for the Northern District of California on

7    ____________________, 201 __ in the case of Grace et al. v. Apple Inc., Case No. 17-cv-

8    00551 LHK, pending in the Northern District of California.

9             I agree to comply with and be bound by all the terms of the Stipulation and Protective

10   Order, and I understand and acknowledge that failure to so comply could expose me to

11   sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose

12   in any manner any information or item that is subject to the Stipulation and Protective Order to

13   any person or entity except in strict compliance with the provisions of the Stipulation and

14   Order.

15            I further agree to submit to the jurisdiction of the United States District Court for the

16   Northern District of California for the purpose of enforcing the terms of the Stipulation and

17   Protective Order even if such enforcement proceedings occur after termination of this action.

18            Executed on ____________________ at ____________________.

19
                                                    ________________________________________
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                                                    Name:
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                                                    Address:
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1                                              EXHIBIT A-2

2       EXPERT/CONSULTANT ACKNOWLEDGMENT OF CONFIDENTIALITY AND
                AGREEMENT TO BE BOUND BY PROTECTIVE ORDER
3

4             I, ______________________________, declare:

5             1.   I reside at ______________________________.

6             2.   I have read the Stipulation and Protective Order (“Order”) in Grace et al. v.

7    Apple Inc., Case No. 17-cv-00551 LHK, pending in the Northern District of California.

8             3.   I am familiar with the contents of the Order and agree to comply and be bound

9    by the provisions thereof.

10            4.   I will not divulge to persons other than those specifically authorized by the

11   Order, and will not copy or use except solely for the purposes of this litigation and only as

12   expressly permitted by the terms of the Order, any Protected Material obtained pursuant to the

13   Order.

14            5.   By signing below, I hereby agree to submit to the jurisdiction of the United

15   States District Court for the Northern District of California for resolving any and all disputes

16   regarding the Order and this Acknowledgment of Confidentiality. I further agree that any and

17   all disputes regarding the Order and this Acknowledgment of Confidentiality shall be governed

18   by the laws of the State of California, and that the district court for the Northern District of

19   California shall be the sole and exclusive venue for resolving any disputes arising from the

20   Order and this Acknowledgment of Confidentiality.

21            6.   By signing below, I hereby confirm that I am not currently and do not currently

22   anticipate becoming an officer, director, or employee of, providing any form of consulting

23   services to, or becoming involved in any competitive decision-making on behalf of any entity

24   on the Restricted Competitors List with respect to the subject matter of this suit (including any

25   messaging, tablet, or mobile phone applications, products, or services). I further agree that: (1)

26   during the pendency of these proceedings I shall not accept any position as an employee,

27   officer, or director of any entity on the Restricted Competitors List; (2) for the two years

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1    following the close of expert discovery or during the pendency of these proceedings,

2    whichever is shorter, I shall not consult with, or provide services to any entity on the Restricted

3    Competitors List; and (3) I shall not at any time, either during the pendency of these

4    proceedings or after conclusion of these proceedings, use or divulge any Protected Material

5    made available to me pursuant to the Order.

6           I declare under penalty of perjury under the laws of the State of California that the

7    foregoing is true and correct.

8           Executed on ____________________ at ____________________.

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                                                   ________________________________________
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                                                   Name:
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1                                      FILER’S ATTESTATION

2          Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this

3    document has been obtained from each of the above signatories.

4    Dated: June 14, 2017                         By: /s/ Jill M. Manning
                                                        Jill M. Manning
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1                                   CERTIFICATE OF SERVICE

2           On June 14, 2017, I electronically filed the foregoing with the Clerk of the Court by

3    using the CM/ECF system which will send notice of electronic filing to all persons registered

4    for ECF. All copies of documents required to be served by Fed. R. Civ. P. 5(a) and L.R. 5-1

5    have been so served.

6                                                By: /s/ Linda Rorem
                                                       Linda Rorem
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                                   STIPULATED PROTECTIVE ORDER
